                        CASE 0:23-cv-00138-JWB-LIB Doc. 66 Filed 06/14/23 Page 1 of 1

                           IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MINNESOTA

                                         CIVIL MOTION HEARING
 Gregory Ashley Moyer,                                )                  COURT MINUTES - CIVIL
                                                      )                   BEFORE: Leo I. Brisbois
                           Plaintiff,                 )                    U.S. Magistrate Judge
                                                      )
   v.                                                 )     Case No:            23-cv-138 (JWB/LIB)
                                                      )     Date:               June 14, 2023
Shon Jackson, et al.,                                 )     Court Reporter:     Digital Recording
                                                      )     Courtroom:          No. 3
                           Defendants.                )     Time Commenced:     1:30 p.m.
                                                      )     Time Concluded:     2:26 p.m.
                                                      )     Time in Court:      56 Minutes

 APPEARANCES:

        For Plaintiff:           Gregory Ashley Moyer, pro se

        For Defendants:          Andrew Leiendecker, Todd A. Noteboom, & Tracey Holmes Donesky


 The following motions will be taken under advisement as of June 14, 2023:

        Defendants’ Motion to Dismiss. [Docket No. 6].
        Plaintiff’s Motion to Preserve Evidence. [Docket No. 17].
        Plaintiff’s Motion to Strike. [Docket No. 23].
        Defendants’ Motion to Stay Discovery. [Docket No. 43].

    Report and Recommendation to be issued.               Order to be issued.

 Additional Notes:

 For the reasons stated on the record at the Motions Hearing, Defendants’ Motion for Miscellaneous Relief, [Docket
 No. 49], was GRANTED in part and DENIED in part, as set forth on the digital record. No written Order to follow.



                                                                                                          s/JRG
                                                                                               Law Clerk Initials
